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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

   Civil Action No. 20-cv-2174

   BARRY ALAN SULLIVAN, and
   JENNIFER DIESMAN SULLIVAN,

           Plaintiffs,

   v.

   EBNER REAL ESTATE, LLC d/b/a SIGNATURE PROPERTIES
   EBNER & ASSOCIATES a/k/a EBNER & ASSOCIATES SIGNATURE PROPERTIES, a
   Colorado Limited Liability Company, and
   JESSE EBNER, individually,

           Defendants.


   DECLARATION OF NEAL S. COHEN IN SUPPORT OF UNOPPOSED MOTION FOR
                         ENLARGEMENT OF TIME




           I, NEAL S. COHEN, make this Declaration based on personal knowledge,

   information and belief.

        1. I am counsel for Plaintiffs Barry Alan Sullivan and Jennifer Diesman Sullivan in

           this matter.

        2. I filed the Complaint in this matter on July 23, 2020.

        3. I did not receive notice of the Court’s Order to Show Cause dated July 27, 2020

           through the Court’s electronic system or any other means of notification.
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      4. On September 1, 2020, Cati Shadakofsky, counsel for Defendants, emailed me

         and stated, among other things, that Defendants had filed their Answer to the

         Complaint.

      5. I had not received notice of the filing of the Answer, so I went to the Court’s

         PACER system to obtain it. At that point, I learned for the first time of the Court’s

         July 27, 2020 Order to Show Cause

      6. I immediately called the Office of the Clerk of the United States District Court for

         the District of Colorado to ascertain the reason for my failure to receive any

         notices of filings in this matter. I was informed that the Court’s electronic filing

         system showed that my email – neal@sullcoh.com -- was “inactive.” In fact, my

         email – neal@sullcoh.com – is not inactive. The Clerk referred me to Mark

         Fredrickson at Attorney Services and transferred the call to Mr. Fredrickson.

      7. Because Mr. Fredrickson did not pick up the call, I left a voice mail message

         explaining the problem. Mr. Fredrickson responded a short time later by email

         explaining that “[s]omeone turned off your noticing. Only a few people have the

         authority to do that internally. I have turned it back on for all your cases. Usually

         this means that someone externally has turned it off. Be sure that no one from

         your office turns off noticing when this case is closed. If you want to add email for

         noticing, just click on Utilities and click on Maintain Your Email. I recommend

         you never turn off the Primary email address.”

      8. Upon receiving actual notice of the Court’s Show Cause Order on September 1,

         2020, I immediately began to prepare the attached Response to Order to Show

         Cause.
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         I declare under penalty of perjury that the foregoing is true and correct.

   DATED: the 2nd day of September 2020.


                                                   s/ Neal S. Cohen
